USDC IN/ND case 1:21-cv-00372-HAB-SLC document 5 filed 09/02/21 page 1 of 4
              EXHIBIT 1 TO DEFENDANT'S NOTICE OF REMOVAL
USDC IN/ND case 1:21-cv-00372-HAB-SLC document 5 filed 09/02/21 page 2 of 4
              EXHIBIT 1 TO DEFENDANT'S NOTICE OF REMOVAL
USDC IN/ND case 1:21-cv-00372-HAB-SLC document 5 filed 09/02/21 page 3 of 4
              EXHIBIT 1 TO DEFENDANT'S NOTICE OF REMOVAL
USDC IN/ND case 1:21-cv-00372-HAB-SLC document 5 filed 09/02/21 page 4 of 4
              EXHIBIT 1 TO DEFENDANT'S NOTICE OF REMOVAL
